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 4
                                                                    Honorable James L. Robart
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 6
                              UNITED STATES DISTRICT COURT
 7
                             WESTERN DISTRICT OF WASHINGTON
 8                                     AT SEATTLE

 9
                                                          )
10    UNITED STATES OF AMERICA,                           ) NO. CR15-109JLR
                                                          )
11
               Plaintiff,                                 ) MOTION IN LIMINE TO LIMIT
12    v.                                                  ) TRIBAL JUDGES’ TESTIMONY
                                                          )
13    RAYMOND FRYBERG, JR.,                               )
                                                          )
14             Defendant.                                 )
                                                          )
15

16
              COMES NOW Tulalip Tribal Judges Randy Steckel and Randy Doucet,

17   subpoenaed witnesses, and move this Court in limine to limit the scope of their testimony

18   at trial. In support of this motion, the Judges submit a memorandum of law and proposed
19   order.
20
              Respectfully submitted this 16th day of September, 2015,
21
                                               BURI FUNSTON MUMFORD, PLLC
22

23                                             By     /s/ Philip Buri
24    Page 1 – MOTION IN LIMINE

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                                              Attorney for Judges Randy Steckel
 2
                                              and Randy Doucet
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                                              Philip@BuriFunston.com

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24   Page 2 – MOTION IN LIMINE

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